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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                        DECISION AND ORDER
                                                                     12-CR-301S-5
ROBERT JOHNSON,

                            Defendant.




       1.     On July 25, 2013, the Defendant entered into a written plea agreement

(Docket No. 85) and pled guilty to Count One of the Indictment (Docket No. 1) charging a

violation of Title 18 U.S.C. § 371 (conspiracy to transport firearms purchased outside of

state of residency).

       2.     On July 25, 2013, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 87) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

       4. This Court has carefully reviewed de novo Judge Foschio’s July 25, 2013, Report

and Recommendation, the plea agreement, the Indictment, and the applicable law. Upon

due consideration, this Court finds no legal or factual error in Judge Foschio’s Report and

Recommendation, and will accept Judge Foschio’s recommendation that Defendant’s plea

of guilty be accepted and that the Defendant be adjudicated guilty as charged.

       IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s July 25, 2013,

Report and Recommendation (Docket No. 87) in its entirety, including the authorities cited

and the reasons given therein.
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      FURTHER, that the plea of guilty of Defendant Robert Johnson, is accepted, and

he is now adjudged guilty of Title 18 U.S.C. § 371.

      SO ORDERED.


Dated: August 16, 2013
       Buffalo, New York


                                                         s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                             Chief Judge
                                                      United States District Court




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